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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

DEFENSE DISTRIBUTED and                               §
SECOND AMENDMENT                                      §
FOUNDATION, INC.,                                     §
                                                      §
                Plaintiffs,                           §
                                                      §
v.                                                    §                    1:18-CV-637-RP
                                                      §
ANDREW J. BRUCK, Acting Attorney General              §
of New Jersey, in his official and individual         §
capacities, et al.,                                   §
                                                      §
                Defendants.                           §

                                                 ORDER

        Before the Court are Plaintiffs Defense Distributed and Second Amendment Foundation’s

(together, “Plaintiffs”) Motion for Preliminary Injunction, (Dkt. 174), and Motion to Grant as

Unopposed or Set a Hearing, (Dkt. 175).

        On April 1, 2022, the judgment and mandate of the Fifth Circuit was entered in this matter.

(Dkt. 171). In its order, the Fifth Circuit determined that a portion of this case was improperly

severed and transferred to the District of New Jersey. (Id. 4). The Court directed the undersigned to

“request retransfer from its counterpart in New Jersey.” (Id. at 4). The undersigned did so by notice

filed on April 13, 2022. (Dkt. 172). As of the date of this order, the case has not been retransferred

to this Court. Accordingly, the New Jersey Attorney General is not currently a party to this case.

        Given the unusual procedural posture of this case, the Court remains mindful of the limits

on its jurisdiction. (See Dkt. 171, at 8 (“[The Fifth Circuit] lacks power to order a return of the case

to our circuit.”); see also In re Red Barn Motors, Inc., 794 F.3d 481, 484 (5th Cir. 2015) (“It seems

uncontroversial in this situation that a transfer to another circuit removes the case from our

jurisdiction.”)). Absent contrary authority, the Court understands that it lacks jurisdiction to consider
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claims against the New Jersey Attorney General in this matter. Having no power to adjudicate these

motions, the Court must dismiss them.

       Accordingly, IT IS ORDERED that Plaintiffs’ Motions for Preliminary Injunction, (Dkt.

174), and to Grant as Unopposed or Set a Hearing, (Dkt. 175), are DISMISSED.

       SIGNED on July 22, 2022.




                                                     _____________________________________
                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE




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